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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF PENNSYLVANIA

  Bankruptcy Case Number 15-20377

  Debtor#1: Randy J. Gillette, Sr.              _______________________________ Last Four (4) Digits of SSN: 3691

  Debtor#2: ___________________________________________________________ Last Four (4) Digits of SSN:
  Check if applicable □ Amended Plan □ Plan expected to be completed within the next 12 months

                                       CHAPTER 13 PLAN DATED MARCH 2, 2015
                              COMBINED WITH CLAIMS BY DEBTOR PURSUANT TO RULE 3004

           UNLESS PROVIDED BY PRIOR COURT ORDER THE OFFICIAL PLAN FORM MAY NOT BE MODIFIED

  PLAN FUNDING
   Total amount of $550.00 per month for a plan term of 60 months shall be paid to the Trustee from future earnings as follows:
   Payments:          By Income Attachment                      Directly by Debtor                   By Automated Bank Transfer
   D#1                $___________________                  $550.00_____________                      $______________________
   D#2                $___________________                  $____________________                       $______________________
   (Income attachments must be used by Debtors having attachable income)                          (SSA direct deposit recipients only)

    Estimated amount of additional plan funds from sale proceeds, etc.: $__________
    The Trustee shall calculate the actual total payments estimated throughout the plan.
    The responsibility for ensuring that there are sufficient funds to effectuate the goals of the Chapter 13 plan rests with the Debtor.

PLAN PAYMENTS TO BEGIN: no later than one month following the filing of the bankruptcy petition.

FOR AMENDED PLANS:
      i. The total plan payments shall consist of all amounts previously paid together with the new monthly payment for the
           remainder of the plan’s duration.
      ii. The original plan term has been extended by _______months for a total of ______months from the original plan filing
           date;
      iii. The payment shall be changed effective________.
      iv. The Debtor (s) have filed a motion requesting that the court appropriately change the amount of all wage orders.

    The Debtor agrees to dedicate to the plan the estimated amount of sale proceeds: $________from the sale of this property (describe)
    _______________________. All sales shall be completed by_________. Lump sum payments shall be received by the Trustee as
    follows: _______________________________________________________________.
    Other payments from any source (describe specifically) ____________________________ shall be received by the Trustee as
    follows: ______________________________________________________________________________.

  The sequence of plan payments shall be determined by the Trustee, using the following as a general guide:

     Level One:   Unpaid filing fees.
     Level Two:   Secured claims and lease payments entitled to Section 1326 (a)(1)(C) pre-confirmation adequate protection
                  payments.
     Level Three: Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees,
                  and post-petition utility claims.
     Level Four: Priority Domestic Support Obligations.
     Level Five: Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
     Level Six:   All remaining secured, priority and specially classified claims, miscellaneous secured arrears.
     Level Seven: Allowed general unsecured claims.
     Level Eight: Untimely filed unsecured claims for which the Debtor has not lodged an objection.

  1. UNPAID FILING FEES __________________

  Filing fees: the balance of $________________ shall be fully paid by the Trustee to the Clerk of Bankruptcy Court from the first
  available funds.

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2. PERSONAL PROPERTY SECURED CLAIMS AND LEASE PAYMENTS ENTITLED TO PRECONFIRMATION
ADEQUATE PROTECTION PAYMENTS UNDER SECTION 1326 (a)(1)(C)

Creditors subject to these terms are identified below within parts 3b, 4b, 5b or 8b. Timely plan payments to the Trustee by the
Debtor(s) shall constitute compliance with the adequate protection requirements of Section 1326 (a)(1)(C). Distributions prior to final
plan confirmation shall be made at Level 2. Upon final plan confirmation, these distributions shall change to level 3. Leases provided
for in this section are assumed by the Debtor(s).

3(a). LONG TERM CONTINUING DEBTS CURED AND REINSTATED, AND LIEN (if any) RETAINED

 Name of Creditor                         Description of Collateral                  Monthly Payment           Pre-petition arrears to
 (include account #)                      (Address or parcel ID                      (If changed, state        be cured (w/o interest,
                                          of real estate, etc.)                      effective date)           unless expressly stated)




3(b). Long term debt claims secured by PERSONAL property entitled to §1326 (a)(1)(C) preconfirmation adequate protection
payments:



4. SECURED CLAIMS TO BE PAID IN FULL DURING TERM OF PLAN, ACCORDING TO ORIGINAL CONTRACT
TERMS, WITH NO MODIFICATION OF CONTRACTUAL TERMS AND LIENS RETAINED UNTIL PAID

4(a). Claims to be paid at plan level three (for vehicle payments, do not use “pro rata” but instead, state the monthly payment to be
applied to the claim):
 Name of Creditor                  Description of Collateral        Contractual           Principal Balance      Contract Rate of
                                                                    Monthly               Of Claim               Interest
                                                                    Payment (Level 3)



4(b). Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
  Name of Creditor                 Description of Collateral        Contractual Monthly Principal Balance        Contract Rate of
                                                                    Payment (Level 3)       Of Claim             Interest



5. SECURED CLAIMS TO BE FULLY PAID ACCORDING TO MODIFIED TERMS AND LIENS RETAINED
5(a). Claims to be paid at plan level three (for vehicle payments, do not use “pro rata”; instead, state the monthly payment to be
applied to the claim)
 Name of Creditor                       Description of Collateral           Modified Principal    Interest Rate    Monthly
                                                                            Balance                                Payment at
                                                                                                                   Level 3 or Pro
                                                                                                                   Rata
 Credit Acceptance Corporation          2006 GMC Envoy                      $8,077.48             6%               $156.16
 Acct. No. X-0874
 Mahoning Consumer Discount             2013 Mercedes E350                  $15,056.00            6%               $291.07
 Company
 Acct. No. X-6273



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5(b). Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
  Name of Creditor                       Description of Collateral            Modified Principal    Interest Rate  Monthly
                                                                              Balance                              Payment at Level
                                                                                                                   3 or Pro Rata



6. SECURED CLAIMS NOT PAID DUE TO                                      7. THE DEBTOR PROPOSES TO AVOID OR
SURRENDER OF COLLATERAL; SPECIFY DATE OF                               LIMIT THE LIENS OF THE FOLLOWING
SURRENDER                                                              CREDITORS:

 Name the Creditor and identify the collateral with specificity.     Name the Creditor and identify the collateral with specificity.




8. LEASES. Leases provided for in this section are assumed by the debtor(s). Provide the number of lease payments to be
made by the Trustee.

8(a). Claims to be paid at plan level three (for vehicle payments, do not use “pro rata”; instead, state the monthly payment to be
applied to the claim):
Name of Creditor                 Description of leased asset       Monthly payment amount          Pre-petition arrears to be cured
(include account#)                                                 and number of payments          (Without interest, unless
                                                                                                   expressly stated otherwise)




8(b). Claims entitled to preconfirmation adequate protection payments pursuant to Section 1326 (a)(1)(C) (Use only if claim qualifies
for this treatment under the statute, and if claims are to be paid at level two prior to confirmation, and moved to level three after
confirmation):
  Name of Creditor                 Description of leased asset        Monthly payment amount           Pre-petition arrears to be cured
  (include account#)                                                  and number of payments           (Without interest, unless
                                                                                                       expressly stated otherwise)



9. SECURED TAX CLAIMS FULLY PAID AND LIENS RETAINED
 Name of Taxing Authority Total Amount of Type of Tax Rate of                             Identifying Number(s) if       Tax Periods
                          Claim                       Interest *                          Collateral is Real Estate




* The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and County of Allegheny shall bear
interest at the statutory rate in effect as of the date of confirmation of the first plan providing for payment of such claims.




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10. PRIORITY DOMESTIC SUPPORT OBLIGATIONS:
If the Debtor (s) is currently paying Domestic Support Obligations through existing state court order(s) and leaves this section blank,
the Debtor (s) expressly agrees to continue paying and remain current on all Domestic Support Obligations through existing state court
orders. If this payment is for prepetition arrearages only, check here:    As to “Name of Creditor,” specify the actual payee, e.g. PA
SCDU, etc.

 Name of Creditor                         Description                                Total Amount of          Monthly Payment or
                                                                                     Claim                    Prorata




11. PRIORITY UNSECURED TAX CLAIMS PAID IN FULL

 Name of Taxing Authority                Total Amount of Claim         Type of Tax             Rate of Interest       Tax Periods
                                                                                               (0% if blank)




12. ADMINISTRATIVE PRIORITY CLAIMS TO BE FULLY PAID
    a. Percentage fees payable to the Chapter 13 Fee and Expense Fund shall be paid at the rate fixed by the United States Trustee.
    b. Attorney fees are payable to Steidl & Steinberg, P.C.. In addition to a retainer of $500.00 for attorney’s fees and $310.00 for
        expense charges already paid by or on behalf of the Debtor, the amount of $1,500.00 at the rate of $150.00 per month.
         Including any retainer paid, a total of $_____________ has been approved pursuant to a fee application. An additional
        $___________ will be sought through a fee application to be filed and approved before any additional amount will be paid
        thru the Plan.

13. OTHER PRIORITY CLAIMS TO BE PAID IN FULL

 Name of Creditor                Total Amount of Claim               Interest Rate       Statute Providing Priority Status
                                                                     (0% if blank)




14. POST-PETITION UTILITY MONTHLY PAYMENTS. This provision completed only if utility provider has agreed to this
treatment.

These payments comprise a single monthly combined payment for post-petition utility services, any post-petition delinquencies and
unpaid security deposits. The claim payment will not change for the life of the plan. Should the utility file a motion requesting a
payment change, the Debtor will be required to file an amended plan. These payments may not resolve all of the post-petition claims
of the utility. The utility may require additional funds from the Debtor (s) after discharge.


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 Name of Creditor                                                    Monthly Payment               Post-petition Account Number




15. CLAIMS OF UNSECURED NONPRIORITY CREDITORS TO BE SPECIALLY CLASSIFIED. If the following is
intended to be treated as long term continuing debt treatment pursuant to Section 1322(b)(5) of the Bankruptcy Code, check here:

 Name of Creditor                  Principal Balance or        Rate of         Monthly Payments       Arrears to be Cured      Interest
                                   Long Term Debt              Interest (0%                                                    Rate on
                                                               if blank)                                                       Arrears



16. CLAIMS OF GENERAL, NONPRIORITY UNSECURED CREDITORS

Debtor(s) ESTIMATE that a total of $2,006.84 will be available for distribution to unsecured, non-priority creditors. Debtor(s)
UNDERSTAND that a MINIMUM of $2,006.84 shall be paid to unsecured, non-priority creditors in order to comply with the
liquidation alternative test for confirmation. The total pool of funds estimated above is NOT the MAXIMUM amount payable to this
class of creditors. Instead, the actual pool of funds available for payment to these creditors under the plan base will be determined
only after audit of the plan at time of completion. The estimated percentage of payment to general unsecured creditors is 100%. The
percentage of payment may change, based upon the total amount of allowed claims. Late-filed claims will not be paid unless all
timely filed claims have been paid in full. Thereafter, all late-filed claims will be paid pro-rata unless an objection has been filed
within thirty (30) days of filing the claim. Creditors not specifically identified in Parts 1 - 15, above, are included in this class.


                            GENERAL PRINCIPLES APPLICABLE TO ALL CHAPTER 13 PLANS

        This is the voluntary Chapter 13 reorganization plan of the Debtor (s). The Debtor (s) understand and agree that the Chapter
13 plan may be extended as necessary by the Trustee, to not more than sixty (60) months, in order to insure that the goals of the plan
have been achieved. Property of the estate shall not re-vest in the Debtor (s) until the bankruptcy case is closed.

         The Debtor (s) shall comply with the tax return filing requirements of Section 1308, prior to the Section 341 Meeting of
Creditors, and shall provide the Trustee with documentation of such compliance at or before the time of the Section 341 Meeting of
Creditors. Counsel for the Debtor(s), or Debtor (if not represented by counsel), shall provide the Trustee with the information needed
for the Trustee to comply with the requirements of Section 1302 as to notification to be given to Domestic Support Obligation
creditors, and Counsel for the Debtor(s), or Debtor (if pro se) shall provide the Trustee with the calculations relied upon by Counsel to
determine the Debtor (s)’ current monthly income and disposable income.

          As a condition to eligibility of the Debtor(s) to receive a discharge upon successful completion of the plan, Counsel for the
debtor(s), or the debtor(s) if not represented by counsel, shall file with the Court Local Bankruptcy Form 24 (Debtor’s Certification of
Discharge Eligibility) within forty-five (45) days after making the final plan payment.

         All pre-petition debts are paid through the Trustee. Additionally, ongoing payments for vehicles, mortgages and assumed
leases are also paid through the Trustee, unless the Court orders otherwise.

         Percentage fees to the Trustee are paid on all distributions at the rate fixed by the United States Trustee. The Trustee has the
discretion to adjust, interpret and implement the distribution schedule to carry out the plan. The Trustee shall follow this standard
plan form sequence unless otherwise ordered by the Court.

           The provisions for payment to secured, priority and specially classified creditors in this plan shall constitute claims in
accordance with Bankruptcy Rule 3004. Proofs of claim by the Trustee will not be required. The Clerk shall be entitled to rely on the
accuracy of the information contained in this plan with regard to each claim. If the secured, priority or specially classified creditor
files its own claim, then the creditor’s claim shall govern, provided the Debtor (s) and Debtor (s)’ counsel have been given notice and
an opportunity to object. The Trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by
not more than $250.


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          Any Creditor whose secured claim is modified by the plan, or reduced by separate lien avoidance actions, shall retain its lien
until the plan has been fully completed, or until it has been paid the full amount to which it is entitled under applicable non-bankruptcy
law, whichever occurs earlier. Upon payment in accordance with these terms and successful completion of the plan by the Debtor (s),
the creditor shall promptly cause all mortgages and liens encumbering the collateral to be satisfied, discharged and released

         Should a pre-petition Creditor file a claim asserting secured or priority status that is not provided for in the plan, then after
notice to the Trustee, counsel of record, (or the Debtor (s) in the event that they are not represented by counsel), the Trustee shall treat
the claim as allowed unless the Debtor(s) successfully objects.


        Both of the preceding provisions will also apply to allowed secured, priority and specially classified claims filed after the bar
date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ COUNSEL OF RECORD
(OR DEBTOR, IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is
placed on the Debtor.



                  BY SIGNING THIS PLAN THE UNDERSIGNED, AS COUNSEL FOR THE DEBTOR(S),
                  OR THE DEBTOR(S) IF NOT REPRESENTED BY COUNSEL, CERTIFY THAT I/WE
                  HAVE REVIEWED ANY PRIOR CONFIRMED PLAN(S), ORDER(S) CONFIRMING
                  PRIOR PLAN(S), PROOFS OF CLAIM FILED WITH THE COURT BY CREDITORS,
                  AND ANY ORDERS OF COURT AFFECTING THE AMOUNT(S) OR TREATMENT OF
                  ANY CREDITOR CLAIMS, AND EXCEPT AS MODIFIED HEREIN, THAT THIS
                  PROPOSED PLAN CONFORMS TO AND IS CONSISTENT WITH ALL SUCH PRIOR
                  PLANS, ORDERS AND CLAIMS. FALSE CERTIFICATIONS SHALL SUBJECT THE
                  SIGNATORIES TO SANCTIONS UNDER FED.R.BANK.P. 9011.



                            Attorney Signature___/s/ Kenneth Steidl_______________________

                            Attorney Name and Pa. ID # Kenneth Steidl, Pa. ID# 34965

                            Attorney Address and Phone Suite 2830 – Gulf Tower, 707 Grant St., Pittsburgh, PA 15219, 412-391-8000

                            Debtor Signature_____/s/ Randy J. Gillette, Sr.____________________

                            Debtor Signature_____________________________________________________




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